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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

                                               ORDER


   United States of America.

                                  Plaintiff,
                                                       Docket No. 0864 0: 12CR00295-002
                V.


   Julie Ann   Cam@
                                Defendant,



                                                                                   I


The above-named defendant has pled guilty. In addition, she has demonstiated a positive
adjustment to supervision. Based on the information available and risk presehted, it does not
appear continued location monitoring is necessary to address the defendant's risk of flight or
danger to the community.

IT IS HEREBY ORDERED that the following condition of release be removed:

Submit to location monitoring as directed by the pretrial services office or supervising officer




Dated:     4'         l la tS
          /                                        Paul A. Magnuson
                                                   Senior U.S. District Judge




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                                                                                          u.s. Dtstmgr couRTsT. PAUL
